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                                         S o ut h er n Distri ct of N e w Y or k


    O Y S T E R H R, N C.




                                                                                      2 4- c v- 0 2 3 0 2- P K C

       E T E A M, I N C




                      E T A M, I N C
                      2 8 5 D a vi d s o n A v e n u e, S uit e 4 0 6
                      S o m er s et, N J 0 8 8 7 3 4 1 5 3.




                      Gi a n c arl o S c a c ci a
                      G e e n b er g Tr a uri g L P
                      O n e V a n d er bilt A v e n u e
                      N e w Y or k, N Y 1 0 0 1 7




3/29/2024                                                                          /s/ P. Canales
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              2 4- c v- 0 2 3 0 2- P K C




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     0 3/ 2 8/ 2 0 2 4




Pri nt                          S a v e A s...                                R e s et
